 

Co Oo aT HD Nn FSF W NO

NO BO NY NO KN NN NO NO NO we ee em ree pm et
So ST DN mH BP WY NYO KS& OD OO Fe HT HD rH FP WD YY &

Case 4:17-mj-00341-RCC-JR Document1 Filed 12/06/17 Page 1 of 2

ELIZABETH A. STRANGE
First Assistant United States Attorney
District of Arizona
NATHANIEL ‘ WALTERS

ssistant U.S. Attorne 9 _f£ 9
Arizona State Bar No. 029708 DEC -© 207 | °
ANNA R. WRIGHT
Assistant U.S. Attorney
United States Courthouse
405 W. Congress Street, Suite 4800
Tucson, Arizona 85701
Telephone: 520-620-7300
Email: nathaniel.walters@usdoj.gov
Attorneys for Plaintiff

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF ARIZONA

 

FILED
-RECEIVED _______ COPY

 

 

 

 

 

 

 

 

 

 

 

17-00 34185
United States of America, Mag. No. re
Plaintiff, INFORMATION
vs. Violations:
50 C.F.R. § 35.5
Scott Daniel Warren, (Operating a Motor Vehicle in a
Wilderness Area)
Defendant. Count |

50 C.F.R. § 27.93
(Abandonment of Property)
ount 2

CLASS B MISDEMEANORS

 

 

 

THE UNITED STATES ATTORNEY ALLEGES:
COUNT 1
On June 1, 2017, in the Cabeza Prieta National Wildlife Refuge, in the District of
Arizona, SCOTT DANIEL WARREN used a motor vehicle in a wilderness area designated
by federal law without lawful authority in violation of Title 16, United States Code, Section
668dd(c) and (f)(2), and Title 50, Code of Federal Regulations, Section 35.5.
COUNT 2
On June 1, 2017, in the Cabeza Prieta National Wildlife Refuge, in the District of

 
Oo CO sD AW FSP WY NO

NP dO BRO NO NO KN NHN NO RO Rm ee ee me
eo 47 HKD wn fF WD NY | CFD OO CO HA DR wn S&F WO NYO YK CO

 

 

Case 4:17-mj-00341-RCC-JR Document1 Filed 12/06/17 Page 2 of 2

Arizona, SCOTT DANIEL WARREN abandoned, discarded, or otherwise left personal

property in a national wildlife refuge in violation of Title 16, United States Code, Section

668dd(c) and (f)(2), and Title 50, Code of Federal Regulations, Section 27.93.

\2[G[(r

Date

ELIZABETH A. STRANGE
First Assistant United States Attorney
District of Arizona

NATHANIEL J. WALTERS
Assistant U.S. Attorney

 

 
